      Case 1:14-ml-02570-RLY-TAB Document 22531 Filed 08/15/22 Page 1 of 1 PageID #:
                                       132878
  AO 399 (01/09) Waiver of the Service of Summons


                                      UNITED STATES DISTRICT COURT
                                                                          for the
                                                          Southern District of Indiana

LEROY DAWSON                                                                )
                               Plaintiff                                    )
                                 v.                                         )       Civil Action No.    1:22-CV-06837
COOK INCORPORATED, ET AL.                                                   )
                              Defendant                                     )

                                            WAIVER OF THE SERVICE OF SUMMONS

To: JENNIFER RETHEMEIER
          (Name of the plaintiff's attorney or unrepresented plaintiff)

       I have received your request to waive service of a summons in this action along with a copy of the complaint,
two copies of this waiver form, and a prepaid means of returning one signed copy of the form to you.

          I, or the entity I represent, agree to save the expense of serving a summons and complaint in this case.

         I understand that I, or the entity I represent, will keep all defenses or objections to the lawsuit, the court’s
jurisdiction, and the venue of the action, but that I waive any objections to the absence of a summons or of service.

        I also understand that I, or the entity I represent, must file and serve an answer or a motion under Rule 12
within 60 days from 7/29/2022                        , the date when this request was sent (or 90 days if it was sent outside
the United States). If I fail to do so, a default judgment will be entered against me or the entity I represent.

Date:     08/15/2022
                                                                                         Signature of the attorney or unrepresented party

Cook Incorporated, Cook Medical, LLC, William Cook Europe APS                                     Kip S. M. McDonald
(Name of the plaintiff's attorney or unrepresented plaintiff)                                           Printed name

                                                                                          300 N. Meridian Street, Suite 2500
                                                                                              Indianapolis, IN 46204
                                                                                                            Address


                                                                                              Kip.mcdonald@faegredrinker.com
                                                                                                       E-mail address

                                                                                                        (317) 237-1485
                                                                                                       Telephone Number

                                           Duty to Avoid Unnecessary Expenses of Serving a Summons
           Rule 4 of the Federal Rules of Civil Procedure requires certain defendants to cooperate in saving unnecessary expenses of serving a
summons and complaint. A defendant who is located in the United States and who fails to return a signed waiver of service requested by a
plaintiff located in the United States will be required to pay the expenses of service, unless the defendant shows good cause for the failure.
          “Good cause” does not include a belief that the lawsuit is groundless, or that it has been brought in an improper venue, or that the court
has no jurisdiction over this matter or over the defendant or the defendant’s property.
         If the waiver is signed and returned, you can still make these and all other defenses and objections, but you cannot object to the absence
of a summons or of service.
           If you waive service, then you must, within the time specified on the waiver form, serve an answer or a motion under Rule 12 on the
plaintiff and file a copy with the court. By signing and returning the waiver form, you are allowed more time to respond than if a summons had
been served.
